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                             No. 23-30445


          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT


   STATE OF MISSOURI; STATE OF LOUISIANA; AARON KHERIATY;
MARTIN KULLDORFF; JIM HOFT; JAYANTA BHATTACHARYA; JILL HINES,
                                           Plaintiffs-Appellees,
                                     v.
    JOSEPH R. BIDEN, JR.; VIVEK H. MURTHY; XAVIER BECERRA;
DEPARTMENT OF HEALTH & HUMAN SERVICES; ANTHONY FAUCI, et al.,
                                           Defendants-Appellants.


             On Appeal from the United States District Court
                 for the Western District of Louisiana


 REPLY IN SUPPORT OF MOTION FOR A STAY PENDING APPEAL


                                          BRIAN M. BOYNTON
                                            Principal Deputy Assistant Attorney
                                               General
                                          BRANDON BONAPARTE BROWN
                                            United States Attorney
                                          DANIEL TENNY
                                          DANIEL WINIK
                                          SIMON BREWER
                                            Attorneys, Appellate Staff
                                            Civil Division, Room 7245
                                            U.S. Department of Justice
                                            950 Pennsylvania Avenue NW
                                            Washington, DC 20530
                                            (202) 305-8849
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                       INTRODUCTION AND SUMMARY

       Plaintiffs’ opposition to the stay motion underscores why the injunction should

remain stayed pending the resolution of this highly expedited appeal.

       First, plaintiffs make little effort to defend the district court’s primary theory of

standing for the State plaintiffs—a parens patriae theory that the Supreme Court has

recently and repeatedly rejected. And plaintiffs ignore the bedrock principle that a past

injury is insufficient to establish the imminent threat of future injury required for juris-

diction over a claim for prospective relief. Plaintiffs invoke the novel theory that they

established a sufficient injury because they want to “listen” to all speech, anywhere, on

any platform, on any subject. But the district court declined to rely on that argument,

for good reason: If it were right, then a court could entertain any First Amendment

claim at the behest of a single plaintiff whose only connection to it was the desire to

hear the relevant speech.

       Second, on the merits, plaintiffs’ repetition of the supposedly “overwhelming ev-

idence” of coercion (Opp. 15) that the district court identified fails to remedy the fac-

tual and legal deficiencies of the district court’s analysis. Like the district court, plain-

tiffs err by confusing persuasion with coercion and making factual assertions that are

unmoored from the record.

       Third, plaintiffs’ efforts to defend the injunction’s breadth only underscore its

deficiencies. Plaintiffs’ “right to listen” theory is (as noted above) insufficient to sup-

port jurisdiction, much less broad relief. And plaintiffs tie themselves in knots trying
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to maintain the false distinction between “the government’s right to speak freely” (Opp.

11 (emphasis omitted)), which they purport to respect, and the conduct forbidden by

the injunction. Plaintiffs insist, for example, that the injunction “clear[ly]” permits the

government to “respond to a false story on influential social-media accounts with a

public statement … refuting the story” and to “urge the public to trust neither the story

nor the platforms that disseminate it.” Opp. 23 (quotation marks omitted). Yet plain-

tiffs approvingly cite (Opp. 7) a holding that the National Institute of Allergy and In-

fectious Diseases (NIAID) defendants likely violated the Constitution by doing exactly

that.

        Finally, plaintiffs’ effort (Opp. 22) to defend the injunction’s specificity fails to

address the fundamental concerns identified in our motion. The problem with terms

like “permissible public government speech,” ROA.26615, is not that dictionaries fail

to define those words; it is that a government official would have no clue what speech

qualifies as “permissible.”

        This injunction should not be permitted to take effect again. If the Court de-

clines to maintain its stay of the injunction, it should extend the current administrative

stay for ten days to permit the Supreme Court to consider any application for a stay that

the Solicitor General may elect to file.




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                                      ARGUMENT

I.     Plaintiffs’ Claims Should Fail

       1.       Our motion pointed out (at 7) that the Supreme Court reaffirmed this past

June that “[a] State does not have standing as parens patriae to bring an action against the

Federal Government”—a principle derived from the very case on which the district

court relied to conclude the opposite. Haaland v. Brackeen, 143 S. Ct. 1609, 1640 (2023)

(quoting Alfred L. Snapp & Son, Inc. v. Puerto Rico ex rel. Barez, 458 U.S. 592, 610 n.16

(1982)). Plaintiffs assert (Opp. 10-11) that this rule does not apply to “quasi-sovereign”

injuries, but precisely the opposite is true: The Supreme Court held that a State “must”

assert a quasi-sovereign injury to have parens patriae standing in the first place, Snapp,

458 U.S. at 601, and clarified that even then it cannot sue the federal government, id. at

610 n.16. And although plaintiffs again cite (Opp. 6-7, 9) alleged instances of content

moderation in 2020 and 2021, they fail to address our point that past injuries cannot

support jurisdiction over a request for sweeping prospective relief.

       Plaintiffs try to bolster the district court’s analysis by invoking a theory the dis-

trict court never adopted, based on an alleged “‘right to listen.’” Opp. 7; see Opp. 7-10.

This Court, however, has cautioned against the application of such a theory to allow

litigation based on “a generalized grievance common to all members of the public,”

emphasizing the need for a particularized showing of the harm caused by the inability

to hear particular speech. Cramer v. Skinner, 931 F.2d 1020, 1026-1027 (5th Cir. 1991).

Plaintiffs make no such showing.

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       2.       On the merits, plaintiffs’ recitation of the district court’s litany of suppos-

edly coercive threats (Opp. 12-13) does nothing to explain why the cited statements

qualify as coercion or significant encouragement under the settled understanding of

those terms: an attempt to induce a private party to undertake “the specific conduct of

which the plaintiff complains,” either by threatening sanctions or offering positive in-

centives, Blum v. Yaretsky, 457 U.S. 991, 1004 (1982). But plaintiffs’ defense of the in-

junction does highlight the glaring holes in their case.

       First, plaintiffs’ theory fails as a matter of simple chronology. All of plaintiffs’

examples of supposed “express and implied threats” (Opp. 12-13) came from the cur-

rent White House, but their declarations contain allegations of widespread content

moderation before President Biden took office, see, e.g., ROA.1187-1211. And plaintiffs

do not even advance a theory that agencies other than the White House made threats:

They do not refute our contention that “some agencies … did not directly threaten,”

instead asserting that “when platforms are under pressure from the White House, there

is no need for lower-level agencies … to pile on.” Opp. 14. Plaintiffs’ entire case thus

rests on the illogical assertion that social-media platforms felt obliged to alter their con-

tent-moderation policies beginning in 2020 (or earlier) based on a supposed pressure

campaign from the White House that began in 2021.

       Second, plaintiffs make clear (Opp. 13-14) that their theory is that the White

House defendants threatened “adverse legal consequences” against platforms if they

did not accede to the supposed pressure for content-moderation actions. But as our

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motion explains (at 12), general statements about potential actions that might affect

companies do not transform every request that any government actor makes into a

coercive threat. The government is entitled to propose government actions to address

societal harms while also communicating with companies to encourage them to volun-

tarily mitigate such harms, without being held responsible for actions the companies

might subsequently take. The communications that plaintiffs regard as coercive here

bear no resemblance to those in the cases on which plaintiffs rely. See, e.g., Bantam Books,

Inc. v. Sullivan, 372 U.S. 58, 62-63 & n.5 (1963) (threatening “prosecution” and dispatch-

ing police officers to confirm compliance); Backpage.com, LLC v. Dart, 807 F.3d 229, 231

(7th Cir. 2015) (“threat[s] that legal sanctions will … be imposed”).

       Finally, plaintiffs invoke the “significant encouragement” and “joint participa-

tion” theories (Opp. 16-17) to compensate for the lack of evidence of coercion. But

neither theory is apposite here. Our motion did not “argue[] that ‘significant encour-

agement’ is just coercion by another name” (Opp. 16); we noted—as the Ninth Circuit

has held—that “significant encouragement” refers to offers of “positive incentives” of

such magnitude that they overwhelm a private party’s independent judgment to the

same degree as a threat of sanctions (coercion). O’Handley v. Weber, 62 F.4th 1145, 1157-

1158 (9th Cir. 2023), pet. for cert. filed, No. 22-1199 (Jun. 8, 2023). It is plaintiffs who fail

to explain why the Supreme Court would have referred separately to “significant en-

couragement” and “coercion” if all “coercion” would also constitute “significant en-

couragement.”

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       The “joint participation” doctrine is equally irrelevant here. That doctrine pro-

vides that nominally private entities may be considered state actors when they are in

effect run by the government, see, e.g., Brentwood Acad. v. Tennessee Secondary Sch. Athletic

Ass’n, 531 U.S. 288, 296-297 (2001), or when the government “provide[s] a mantle of

authority that enhance[s] the[ir] power,” NCAA v. Tarkanian, 488 U.S. 179, 192 (1988).

The doctrine does not suggest that the government can be held responsible for private

parties’ exercise of their own powers when in some non-coercive fashion the government

seeks to persuade or coordinate with the private parties.

       Plaintiffs’ reliance on these doctrines also underscores the startling consequence

of their position: that platforms themselves would be state actors subject to First

Amendment constraints (and concomitant limits on their own free-speech rights). As

we observed (Mot. 15), the Supreme Court has cautioned against such expansive state-

action theories, which are “especially problematic in the speech context.” Manhattan

Community Access Corp. v. Halleck, 139 S. Ct. 1921, 1932 (2019). Plaintiffs do not even

address that point.

       3.       Plaintiffs’ recitation of the facts as articulated by the district court fails to

grapple with the voluminous factual record, which in many instances refutes plaintiffs’

claims. Plaintiffs cite, for example, a harshly worded email from the then-White House

Digital Director, but that email had nothing to do with misinformation concerns; it was

addressing a “technical issue” that had been “affecting follower growth” on the Presi-

dent’s Instagram account.         ROA.9409-9410.       Plaintiffs assert that “[t]he NIAID

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defendants orchestrated a ‘quick and devastating … take down’ of the Great Barrington

Declaration,” (Opp. 7), but the email ostensibly proving this point (quoted in full else-

where in the district court’s opinion) referred to a “quick and devastating published take

down” of the Declaration’s “premises,” ROA.26508 (emphasis added). In other words,

the email suggested that the Declaration should be publicly debated through the publi-

cation of a counterargument, not that it should be suppressed. Plaintiffs suggest the

opposite only by replacing the word “published” with an ellipsis and failing to mention

that it was the Declaration’s “premises,” not the Declaration itself, that were to be

“take[n] down.” (The district court did not even include the ellipsis. ROA.26560.)

II.    Principles of Equity Support A Stay

       1.       Just as plaintiffs’ reliance on past injuries is insufficient to establish stand-

ing for prospective relief, it is insufficient to establish irreparable harm. Plaintiffs largely

rely (Opp. 18-19) on the assertion that various government meetings are ongoing, but

they fail to explain how such meetings cause them ongoing injury.

       The only recent declarations plaintiffs cite (Opp. 20), from plaintiffs Hines and

Hoft, merely assert that plaintiffs continue to face content moderation from social-

media platforms, without identifying any ongoing conduct by defendants. ROA.25726-

25737. Neither declaration provides any basis for plaintiffs’ assertion (Opp. 20) that

the “ongoing acts of ” content moderation are “traceable to federal officials.”

       Plaintiffs’ other conclusory assertions of ongoing harm—which rely on two

pages of the district court’s opinion—fail to substantiate their assertion that they face

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“[f]urther injuries” while this case is pending (Opp. 19 (citing ROA.26581-26582)). The

district court’s finding that plaintiff Bhattacharya “is the apparent victim of an ongoing

‘campaign’ of social-media censorship,” ROA.26581, rested on an October 2020 email

and a year-old declaration that says nothing—not a single word, anywhere—about any

ongoing restriction of Bhattacharya’s content on social media. ROA.26581 n.648 (quot-

ing ROA.12255 and citing plaintiffs’ findings of fact, ROA.16753-16754, which in turn

cite ROA.1187-1197). The same is true for the other plaintiffs. See ROA.1198-1206

(Kulldorff declaration not referring to any content moderation after March 2022);

ROA.1273-1278 (Kheriaty declaration containing only a brief and unexplained allusion

to any content moderation postdating 2021); ROA.26581 & nn.648-651 (relying on

plaintiffs’ proposed findings, ROA.16754-16758 ¶¶ 1373-1380, 1383-1386, which in

turn rely on these declarations).

      Finally—and critically, with respect to the scope of the injunction—plaintiffs say

not a word to suggest that the plaintiff States face irreparable injury in the absence of

an injunction.

      2.     Plaintiffs likewise offer no response to most of our arguments concerning

the injunction’s breadth. They point out (Opp. 21) that a court can sometimes enjoin

entire agencies, but they make no effort to defend the district court’s assertion that it

was appropriate to apply the injunction here to agency subcomponents having nothing

to do with the challenged conduct because agencies could otherwise “avoid the conse-

quences of an injunction” by “instruct[ing] a sub-agency to perform the prohibited

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acts,” ROA.26658. And they virtually ignore the fact that the injunction governs com-

munications by a wide range of government agencies (including those having no inter-

est in the subjects about which plaintiffs sought to speak) with a wide range of plat-

forms (including those on which plaintiffs do not participate) about a wide range of

topics (including speakers and subject matter other than plaintiffs and their speech).

      Plaintiffs’ only response, as noted above, is to suggest (Opp. 21-22) that the in-

junction’s scope is appropriate on the theory that plaintiffs want to “listen[]” to all

speech, anywhere, on any platform, on any subject. Unsurprisingly, they cite no author-

ity for the radical proposition that such an amorphous interest, on the part of a single

individual or group of individuals, could justify an injunction of this substantive

breadth and geographic scope. The district court declined to accept that theory for

good reason.

      3.       Plaintiffs’ effort to defend the injunction’s lack of specificity is equally

weak. Their focus (Opp. 22) on the definition of “criminal,” for example, fails to ad-

dress the salient question: whether a law-enforcement agency could inform a platform

about a post that appears to rise to the level of “criminal” conduct before reaching a

definitive conclusion to that effect. And plaintiffs offer no defense at all of the many

other points of manifest ambiguity identified in our motion (at 18-19), like what con-

stitutes “inducing” a platform to moderate content, or how to square the injunction’s

purported exemptions for certain conduct with the district court’s condemnation of



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exactly that conduct, or what constitutes “permissible” government speech (which is,

after all, the entire subject of this hotly contested litigation).

       4.     Finally, plaintiffs fail to show that the injunction will not “interfere with

legitimate government speech” (Opp. 22). There is nothing illegitimate about the FBI’s

calling platforms’ attention to posts that it thinks might constitute criminal activity—

while leaving to the platforms’ discretion what actions, if any, to take. Yet plaintiffs

assert that such conduct would violate the injunction unless the FBI has completed

enough of an investigation to be “[]certain that” the “speech is criminal.” Opp. 23. Nor

would there be anything illegitimate about the White House Press Secretary’s calling on

platforms, in the wake of a natural disaster, to stop spreading false information about

the disaster, so long as neither she nor any government official coerced the platforms

to act as she requested. Yet plaintiffs seem to think such a statement could properly

subject the Press Secretary to contempt. Opp. 24.

       In protecting the Nation’s security, in responding to a natural disaster, and in a

thousand other scenarios, government leaders must be able to provide accurate and

timely information to the public, to dispel false rumors, and to explain what actions

citizens and businesses can and should take to advance the public good. The govern-

ment certainly cannot punish people for holding or disseminating different views. Nor

can it achieve the same objective indirectly, by threatening the media with punishment

if it disseminates those views. But there is a categorical, well-settled difference between

persuasion and coercion. By equating the government’s effort to persuade people of

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its views with the creation of an official orthodoxy from which deviations are punished,

plaintiffs cheapen the foundational principles distinguishing the former from the latter.

                                   CONCLUSION

       The preliminary injunction should remain stayed pending the Court’s resolution

of this appeal. At a minimum, the Court should stay the injunction to the extent it

prohibits actions not specifically targeting content posted by plaintiffs. If this Court

denies a stay, it should extend the current administrative stay for ten days to permit the

Supreme Court to consider an application for a stay, should the Solicitor General elect

to file one.

                                                   Respectfully submitted,

                                                   BRIAN M. BOYNTON
                                                     Principal Deputy Assistant Attorney
                                                        General
                                                   BRANDON BONAPARTE BROWN
                                                     United States Attorney
                                                   DANIEL TENNY

                                                    /s/ Daniel Winik
                                                   DANIEL WINIK
                                                   SIMON BREWER
                                                     Attorneys, Appellate Staff
                                                     Civil Division, Room 7245
                                                     U.S. Department of Justice
                                                     950 Pennsylvania Avenue NW
                                                     Washington, DC 20530
                                                     (202) 305-8849
                                                     Daniel.L.Winik@usdoj.gov




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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rule of Appellate Procedure 32(g), I certify that this reply

complies with Federal Rule of Appellate Procedure 27(d)(1)(E) because it has been

prepared in 14-point Garamond, a proportionally spaced font, and that it complies with

the type-volume limitation of Federal Rule of Appellate Procedure 27(d)(2)(C) because

it contains 2,595 words, according to Microsoft Word.


                                              /s/ Daniel Winik
                                              Daniel Winik
